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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


  UNITED STATES OF AMERICA
  and GREGORY CHABOT,

         Plaintiff,                                   Case No. 6:06-CV-1528-19UAM

  v.

  MLU SERVICES, INC.,

        Defendant.
  ___________________________________________/

       MLU SERVICES, INC.’ S MOTION TO DISMISS THE COMPLAINT OR,
              IN THE ALTERNATIVE, MOTION TO STRIKE AND
                   MEMORANDUM OF LAW IN SUPPORT

         MLU Services, Inc. (“MLU”), by and through its undersigned counsel, and

  pursuant to Fed. R. Civ. P. 12(b)(6) and Fed. R. Civ P. 12(f), respectfully moves the

  Court to enter an Order dismissing the Complaint (Dkt. No. 1), with prejudice, for failure

  to state a claim upon which relief may be granted or alternatively, to strike paragraphs

  14-26 of the Complaint. In support of this motion, MLU respectfully refers the Court to

  the following Memorandum of Law.

                               MEMORANDUM OF LAW

  I.      RELEVANT ALLEGATIONS AND PROCEDURAL HISTORY1

         Gregory Chabot (“Chabot” or “Plaintiff”) filed his complaint in this matter under

  seal on October 2, 2006. (Dkt. No. 1). The Court entered an Order unsealing the


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   Solely for the purpose of this motion, MLU accepts Plaintiff’s allegations as true. See
  Miree v. DeKalb County, 433 U.S. 25, 27 n.2 (1977).
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  complaint on August 24, 2007. (Dkt. No. 2). MLU was served with the complaint on

  December 5, 2007. The one-count complaint alleges violations of 31 U.S.C. § 3729 et

  seq. of the False Claims Act. (Dkt. No. 1 at p. 9-10).

         Specifically, Chabot alleges that after the hurricanes in Florida in 2004, FEMA

  contracted with various companies, including MLU, to install manufactured or mobile

  homes for affected residents. (Compl. ¶¶ 7-9, 28). Chabot alleges that in order to

  lawfully install manufactured/mobile homes in Florida, a company must be licensed

  under 15C-2.0073(1) of the Florida Administrative Code.       (Compl. ¶ 11). Moreover,

  Chabot alleges that § 320.8249, Fla. Stat., prohibits someone from various activities

  related to being a mobile home installer without being duly licensed as such. (Compl. ¶

  12). With regard to MLU, Chabot alleges that MLU “held itself out as a licensed mobile

  home installer, impersonated a licensed mobile home installer and engaged in the

  business by acting in the capacity of a licensed mobile home installer without being duly

  licensed in violation of” § 320.8249, Fla. Stat. (Compl. ¶ 28). As such, Chabot alleges

  that MLU made, used, or caused to be used “false certifications claiming that it was duly

  licensed to install manufactured housing and therefore eligible to present claims to the

  FEMA disaster relief office in Orlando for such installation . . . .” (Compl. ¶ 30).

  Accordingly, Chabot demands judgment for treble damages, penalties for the seven

  alleged false claims and attorneys’ fees, and costs against MLU. (Compl. at p. 11).

  II.    STANDARD FOR DISMISSAL UNDER FED. R. CIV. P. 12(B)(6)

         The Court may dismiss the lawsuit “on the basis of a dispositive issue of law.”

  Neitzke v. Williams, 490 U.S. 319, 326 (1989). See also Fed. R. Civ. P. 12(b)(6). The




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  Supreme Court has observed that “a complaint should not be dismissed for failure to state

  a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in

  support of his claim which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41,

  45-46 (1957). The Complaint is deficient in alleging facts demonstrating that MLU

  violated 31 U.S.C. § 3729(1) or (2).       Accordingly, the Court should dismiss the

  Complaint, with prejudice.

  III.   ARGUMENT

         A.      The Complaint Should Be Dismissed For Failure To State A Cause Of
                 Action Because Chabot Failed To Attach Documents Integral To The
                 Complaint.

         Despite alleging that MLU submitted “claims pursuant to the RFQ’s for the

  installation of manufactured homes,” (Compl. ¶ 28), and despite alleging that MLU made

  “false certifications claiming that it was duly licensed to install manufactured housing

  and therefore eligible to present claims to the FEMA disaster relief office in Orlando for

  such installation” on specified dates contained in the Complaint, (Compl. ¶ 30), Chabot

  fails to attach the alleged false claims and certifications, or even the contract that MLU

  had with FEMA, all of which is referred to in the Complaint and integral to the false

  claims action, even though these documents were readily available to Chabot (and his

  counsel) under the Freedom of Information Act. See 5 U.S.C. § 552 et seq. Additionally,

  Chabot failed to attach the Request for Quotation Packages (“RFQ”) to which he refers in

  the Complaint and with which he alleges that MLU failed to comply. The allegations in

  the Complaint are based on these critical documents, and this cause of action should be




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  dismissed for failure to state a cause of action due to Plaintiff’s failure to attach them or

  sufficiently plead them in the complaint.

         B.      Alternatively, The Complaint Should Be Dismissed For Failure To
                 State A Cause Of Action Because MLU Did Not Supply Manufactured
                 or Mobile Homes Without A Valid License.

         MLU attaches a copy, as Exhibit A to this Motion, of the only contract that it had

  with FEMA during the time period alleged in the Complaint. The attachment of this

  contact does not convert this motion to one for summary judgment:

                 [T]he analysis of a 12(b)(6) motion is limited primarily to
                 the face of the complaint and attachments thereto.
                 However, where the plaintiff refers to certain documents in
                 the complaint and those documents are central to the
                 plaintiff's claim, then the Court may consider the
                 documents part of the pleadings for purposes of Rule
                 12(b)(6) dismissal, and the defendant's attaching such
                 documents to the motion to dismiss will not require
                 conversion of the motion into a motion for summary
                 judgment.

  Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1368-69 (11th Cir.

  1997) (internal citations omitted); see also Cortec Indus., Inc. v. Sum Holding L.P., 949

  F.2d 42, 47 (2d Cir. 1991) (holding that “when a plaintiff chooses not to attach to the

  complaint or incorporate by reference a prospectus upon which it solely relies and which

  is integral to the complaint, the defendant may produce the prospectus when attacking the

  complaint for its failure to state a claim, because plaintiff should not so easily be allowed

  to escape the consequences of its own failure”); Venture Assoc. Corp. v. Zenith Data Sys.

  Corp., 987 F.2d 429, 431 (7th Cir. 1993) (holding that “[d]ocuments that a defendant




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  attaches to a motion to dismiss are considered part of the pleadings if they are referred to

  in the plaintiff's complaint and are central to her claim”); Discover Group, Inc. v.

  Lexmark Int’l, Inc., 333 F. Supp. 2d 78, 83 (E.D.N.Y. 2004) (holding that “[w]hen a

  document is integral to the complaint, a plaintiff is on notice that it might be considered

  by the court in a motion to dismiss”).

         Plaintiff refers to the contract between MLU and FEMA pursuant to the RFQs in

  the Complaint. Specifically, Plaintiff alleges that MLU presented claims to the FEMA

  disaster relief office in Orlando for “installation of manufactured housing” on November

  17, 2004, November 8, 2004, December 9, 2004, February 5, 2005, February 17, 2005,

  March 22, 2005, and March 28, 2005. (Compl. ¶ 30). Moreover, the contract between

  MLU and FEMA is integral to the allegations contained in the Complaint against MLU

  that it provided “manufactured or mobile homes without a license.” The October 31,

  2004 contract between MLU and FEMA clearly reflects that MLU was to provide “travel

  trailers” in response to disaster operations.      (Ex. A at p. 1).     Travel trailers are

  distinguished in Florida law from “manufactured,” “mobile” and “park homes,” and are

  specifically defined in § 320.01, Fla. Stat.

         Section 320.01(1)(b)1., Fla. Stat. defines travel trailers:

                 The “travel trailer,” which is a vehicular portable unit,
                 mounted on wheels, of such a size or weight as not to
                 require special highway movement permits when drawn by
                 a motorized vehicle. It is primarily designed and
                 constructed to provide temporary living quarters for
                 recreational, camping, or travel use. It has a body width of
                 no more than 8 1/2 feet and an overall body length of no
                 more than 40 feet when factory-equipped for the road.




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  Park homes, mobile homes and manufactured homes are also defined in § 320.01(1)(b)7.,

  320.01(2)(a) & (b), respectively. Section 320.8249, Fla. Stat. and Fla. Admin. Code §

  15C-2.0073(1), the alleged statutory violations, relate solely to mobile, manufactured

  and park homes, not travel trailers.     MLU never contracted with nor installed any

  “mobile, manufactured or park homes” for FEMA. Moreover, there is no administrative

  code or statute requiring a license for the installation of “travel trailers,” and Plaintiff

  does not allege that MLU installed “travel trailers” without a valid license. As such,

  Plaintiff’s Complaint does not state (and cannot state) a cause of action against MLU and

  should be dismissed, with prejudice.

         C.      Alternatively, The Court Should Strike Paragraphs 14-26 Of The
                 Complaint.

         Fed. R. Civ. P. 12(f) provides that “[u]pon motion made by a party before

  responding to a pleading . . . the court may order stricken from any pleading any

  insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”

  Paragraphs 14-26 of the Complaint are immaterial and in no way relate to the allegations

  against MLU or to the claim brought against MLU. These allegations deal with Chabot’s

  attempts to unsuccessfully bid on the RFQs and the response that he received from people

  in no way associated with or related to MLU.           In fact, these paragraphs contain

  allegations against other companies, not against MLU, including D & G Discount

  Homes, LLC, Windstorm Mitigation, Inc., Florida Mobile Home Supply, and allegations

  against Florida’s Bureau of Mobile Homes. As such, these paragraphs should be stricken

  from the Complaint against MLU as immaterial.




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  IV.    CONCLUSION

         For the foregoing reasons, MLU Services, Inc. respectfully requests that this

  action be dismissed, with prejudice, for failure to state a cause of action or, alternatively,

  that paragraphs 14-26 of the Complaint be stricken and for such other relief as the Court

  deems just and appropriate.

                                                 Respectfully submitted,



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                             CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing MLU SERVICES,

  INC.’ S MOTION TO DISMISS THE COMPLAINT OR, IN THE ALTERNATIVE,

  MOTION TO STRIKE AND MEMORANDUM OF LAW IN SUPPORT has been

  furnished via CM/ECF electronic system and/or U.S. Mail on December 21, 2007, to the

  following:

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